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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

DR. WILLIAM P. GRESS,                               )
on behalf of plaintiff and                          )
the class members defined herein,                   )
                                                    )
               Plaintiff,                           )       19 C 5623
                                                    )
               v.                                   )       Judge Pallmeyer
                                                    )       Magistrate Judge Finnegan
ADVANTAGE BUSINESS CAPITAL, INC.,                   )
and JOHN DOES 1-10,                                 )
                                                    )
               Defendants.                          )

                                    NOTICE OF DISMISSAL

       Pursuant to Fed. R. Civ. P. 41(a)(1)(A)(I), plaintiff Dr. William P. Gress voluntarily

dismisses his individual claims against defendant Advantage Business Capital, Inc. without

prejudice and without costs. Plaintiff Dr. William P. Gress voluntarily dismisses his class claims

against defendant Advantage Business Capital, Inc. without prejudice and without costs.

Plaintiff Dr. William P. Gress voluntarily dismisses his claims against John Does 1-10 without

prejudice and without costs.


                                             Respectfully submitted,

                                             s/ Heather Kolbus
                                             Heather Kolbus


Daniel A. Edelman
Heather Kolbus
EDELMAN, COMBS, LATTURNER
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(312) 739-4200
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                              CERTIFICATE OF SERVICE

       I, Heather Kolbus, hereby certify that on September 19, 2019, I caused a true and
accurate copy of the foregoing document to be filed with the Court’s CM/ECF system, which
caused notice via email to be sent to the following:

       Mason N. Floyd - mfloyd@clarkhill.com
       Maureen J. Moody - mmoody@clarkhill.com
       CLARK HILL PLC
       130 East Randolph Street, Suite 3900
       Chicago, IL 60601

                                                  s/ Heather Kolbus
                                                  Heather Kolbus


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